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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0256V
                                        UNPUBLISHED


    JENNIFER SOHMER,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: June 24, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

      On January 7, 2021, Jennifer Sohmer filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a left shoulder injury related to
vaccine administration as a result of an influenza vaccine received on September 24,
2019. Petition at 1. Petitioner further alleges that the vaccine was administered in the
United States, she experienced the residual effects of her condition for more than six
months, and neither Petitioner nor any other party has ever received compensation in the
form of an award or settlement for her vaccine-related injury. Petition at ¶¶ 5; Exs. 1, 8.
The case was assigned to the Special Processing Unit of the Office of Special Masters.


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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       On June 23, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that Petitioner “did not have a history of left shoulder
pain, and the medical records reflect an onset within 48 hours. Petitioner’s left shoulder
pain and reduced range of motion was limited to her shoulder, and no other condition or
abnormality explained her shoulder pain.” Id. at 4 (citations omitted). Respondent further
agrees that the records show that the case was timely filed, the vaccine was received in
the United States, and Petitioner satisfies the statutory severity requirement by suffering
the residual effects or complications of her injury for more than six months after vaccine
administration. Id. at 5. Respondent adds that Petitioner avers that she has not received
compensation in the form of an award or settlement for her injury and has not filed a civil
action. Id. (citing Ex. 8).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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